










TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN





NO. 03-05-00505-CV




Green Tree Servicing, LLC, Appellant


v.


Royal Palms Manufactured Home &amp; RV Community, Appellee





FROM THE COUNTY COURT AT LAW NO. 2 OF TRAVIS COUNTY
NO. 281572, HONORABLE ORLINDA NARANJO, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Royal Palms Manufactured Home &amp; RV Community (“Royal Palms”) sued Green
Tree Servicing, LLC, in small claims court seeking unpaid rent.  The small claims court awarded
Royal Palms the unpaid rent and Green Tree appealed the judgment to the county court at law.  After
a trial de novo, the county court at law rendered judgment in favor of Royal Palms, awarding Royal
Palms unpaid rent plus interest and attorney’s fees.  See Tex. Gov’t Code Ann. § 28.052(a) (West
Supp. 2005) (stating that a dissatisfied party may appeal small claims court’s judgment to county
court or county court at law), § 28.053(b) (West 2004) (providing that trial on appeal is de novo).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Green Tree appeals the county court at law’s judgment contending that it erred in
finding Green Tree liable for unpaid lot rent, attorney’s fees and court costs.  Green Tree argues
further that the county court at law erred by awarding attorney’s fees that were unreasonable and
unnecessary.  Royal Palms contends that section 28.053(d) of the government code deprives this
court of jurisdiction to review the county court at law’s judgment.  We agree with Royal Palms and
dismiss the appeal.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Section 28.053(d) states, “Judgment of the county court or county court at law on the
appeal is final.”  Id. § 28.053(d).  In Sultan v. Mathew, 178 S.W.3d 747, 749-50 (Tex. 2005), the
supreme court held that the legislature intended for the word “final” in section 28.053(d) to mean
final and unappealable.  The supreme court’s holding was based on its understanding of the role of
small claims courts.  Sultan, 178 S.W.3d at 750.  The supreme court noted that the basic purpose of
small claims courts is “to provide an affordable and expedient procedure for litigating claims
involving relatively small amounts of money” and that this purpose is reflected in “almost every
aspect of small claims court procedure.”  Id.  For example, a small claims court hearing is “informal,
with the sole objective being to dispense speedy justice between the parties.”  See Tex. Gov’t Code
Ann. § 28.033(d) (West 2004).  Similarly, the county court must dispose of a claim on appeal from
the small claims court “with all convenient speed.”  Id. § 28.053(a).  Thus, the supreme court
concluded, “When construing section 28.053(d) in the context of other small claims court provisions,
all of which underscore the Legislature’s basic goal of providing a simplified and inexpensive court
procedure, it is reasonable to conclude that in section 28.053(d), the Legislature intended to forgo
the added time and expense which inevitably accompany an appeal to the court of appeals.”  Sultan,
178 S.W.3d at 750.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because the county court at law’s judgment is final and cannot be appealed to this
court, we dismiss Green Tree’s appeal for lack of jurisdiction.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Bea Ann Smith, Justice 
Before Justices B. A. Smith, Patterson and Puryear
Dismissed for Want of Jurisdiction
Filed:   July 6, 2006


